






NO. 07-04-0518-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



NOVEMBER 10, 2004


______________________________



JULIA MARTINEZ,




		Appellant


v.



THE STATE OF TEXAS, 




		Appellee

_________________________________



FROM THE 242nd DISTRICT COURT OF HALE COUNTY;



NO. B13405-9905; HON. ED SELF, PRESIDING


_______________________________



ON MOTION TO DISMISS



__________________________________



Before QUINN, REAVIS, and CAMPBELL, JJ.

	Appellant Julia Martinez, by and through her attorney, has filed a motion to dismiss
this appeal because she no longer desires to prosecute it.  Without passing on the merits
of the case, we grant the motion to dismiss pursuant to Texas Rule of Appellate Procedure
42.1(a)(2) and dismiss the appeal.  Having dismissed the appeal at appellant's request, no
motion for rehearing will be entertained, and our mandate will issue forthwith.

																			Brian Quinn

							   Justice

Do not publish.



ly: 'Arial', sans-serif"&gt;ON ABATEMENT AND REMAND
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant, Peggy G. Penney, appeals from a judgment granting appellee an
easement along appellant’s real estate.  The appellate record was due in this case by
January 25, 2008.  The clerk’s record was filed on January 28. The court reporter did not
file a reporter’s record prior to January 25 and has not requested an extension to file the
reporter’s record.  This court sent the court reporter a letter dated February 8, 2008
requesting information as to the status of the reporter’s record and informing the court
reporter of the availability of forms for requesting an extension if needed.  The court
reporter was to inform this court of the status on or before February 19, 2008.  As of this
date, this court has not had any communication from the court reporter.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Accordingly, we abate this appeal and remand the cause to the trial court for further
proceedings.  See Tex. R. App. P. 35.3(c).  Upon remand, the trial court shall immediately
cause notice of a hearing to be given and, thereafter, conduct a hearing to determine the
following:
1.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;whether the reporter’s record can reasonably be filed in a manner that
does not further delay the prosecution of this appeal or have the
practical effect of depriving Penney of her right to appeal, and
2.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;whether an alternate or substitute reporter should or can be appointed
to complete the record in a timely manner.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court shall cause the hearing to be transcribed.  In addition, the trial court
shall (1) execute findings of fact and conclusions of law addressing the foregoing issues,
(2) cause a supplemental clerk’s record to be developed containing its findings of fact and
conclusions of law and all orders it may issue as a result of its hearing in this matter, and
(3) cause a reporter’s record to be developed transcribing the evidence and arguments
presented at the aforementioned hearing, if any.  The trial court shall then file the
supplemental clerk’s record and any reporter’s record transcribing the hearing with the
clerk of this court on or before April 25, 2008.  Should further time be needed by the trial
court to perform these tasks, the same must be requested before April 25, 2008.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;It is so ordered.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per Curiam


